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     UNIVERSITY FOUNDATION, INC.
13

14                                UNITED STATES DISTRICT COURT

15                             NORTHERN DISTRICT OF CALIFORNIA

16                                        SAN JOSE DIVISION

17   INTERNATIONAL TECHNOLOGICAL                        Case No.   18-CV-06228-EJD
     UNIVERSITY FOUNDATION, INC.,
18
                           Plaintiff,
19                                                      [PROPOSED] ORDER GRANTING
            v.                                          PLAINTIFF’S MOTION FOR
20                                                      PRELIMINARY INJUNCTION
     KIRSTJEN M. NIELSEN, in her official
21   capacity as Secretary of the Department of
     Homeland Security, UNITED STATES OF
22   AMERICA, UNITED STATES
     DEPARTMENT OF HOMELAND
23   SECURITY, UNITED STATES
     IMMIGRATION AND CUSTOMS
24   ENFORCEMENT, STUDENT EXCHANGE
     AND VISITOR PROGRAM, and DOES 1
25   through 10, inclusive,
26                         Defendants.
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28

     [PROPOSED] ORDER GRANTING PRELIMINARY INJUNCTION
     Case No. 18-CV-06228-EJD
     la-1397066
       Case 5:18-cv-06228-EJD Document 26-1 Filed 12/17/18 Page 2 of 3



 1          This matter comes before the Court on Plaintiff International Technological University

 2   Foundation, Inc.’s (“ITU”) Motion for a Preliminary Injunction. Having considered the

 3   arguments and papers submitted, and finding good cause, the Court finds that ITU has

 4   demonstrated a strong likelihood of success on the merits, the balance of hardships tips in its

 5   favor, it faces immediate and irreparable injury from Defendants’ conduct, and an injunction is in

 6   the public interest, and the Court hereby GRANTS ITU’s motion, pursuant to Federal Rule of

 7   Civil Procedure 65 as follows:

 8          The Court hereby preliminarily RESTRAINS AND ENJOINS Defendants Kirstjen

 9   Nielsen, in her official capacity as Secretary of the Department of Homeland Security, United

10   States of America, U.S. Department of Homeland Security, and U.S. Immigration and Customs

11   Enforcement, Student and Exchange Visitor Program, and their officers, agents, servants,

12   employees, and attorneys and any other persons who are in active concert or participation with

13   them (collectively the “Enjoined Parties”) from:

14          (1)     reviewing the Privileged Report1 and any other documents discussing or derived

15                  from the contents of the Privileged Report;

16          (2)     distributing the Privileged Report and any other documents discussing or derived

17                  from the contents of the Privileged Report;

18          (3)     disclosing the contents of the Privileged Report to any person or entity;

19          (4)     citing to or otherwise relying upon the Privileged Report and any other documents

20                  discussing the contents of the Privileged Report to support any action or to

21                  adjudicate any alleged violations of applicable regulations or laws; and

22          (5)     any further adjudication of ITU’s certification to enroll nonimmigrant students,

23                  including pending administrative proceedings, during the pendency of this action.

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              The term “Privileged Report” refers to a memorandum, dated October 6, 2014, authored
27   by ITU’s outside legal counsel, as further discussed in ITU’s memorandum of points and
     authorities.
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     [PROPOSED] ORDER GRANTING PRELIMINARY INJUNCTION
     Case No. 18-CV-06228-EJD
                                                                                                          1
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       Case 5:18-cv-06228-EJD Document 26-1 Filed 12/17/18 Page 3 of 3



 1           This Preliminary Injunction shall take effect immediately and shall remain in effect

 2   pending trial in this action or further order of this Court.

 3           ITU shall not be required to post a bond for issuance of the Preliminary Injunction.

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 5   IT IS SO ORDERED.

 6   Dated: __________________, 2018                    By: ____________________________________
                                                            HONORABLE EDWARD J. DAVILA
 7                                                          United States District Judge
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     [PROPOSED] ORDER GRANTING PRELIMINARY INJUNCTION
     Case No. 18-CV-06228-EJD
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     la-1397066
